      Case 1:17-cv-02003-GBD-SN Document 161 Filed 09/20/19 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

IN RE: TERRORIST ATTACKS ON          :
SEPTEMBER 11, 2001                   :                03-MDL-1570 (GBD)(SN)
____________________________________

This Document Relates To:
Katherine Maher, Individually as Spouse and as Personal Representative of the Estate of Daniel
L. Maher, deceased; Daniel R. Maher, Individually and as Surviving Child of Daniel L. Maher,
deceased; and Joseph F. Maher, individually and as Surviving Child of Daniel L. Maher,
deceased only in the cases of Ashton, et al. v. al Qaeda Islamic Army, et al., Case No. 02-cv-
6977 (GBD)(SN); Bauer, et al. v. al Qaeda Islamic Army, et al., Case No. 02-cv-7236
(GBD)(SN); and Ashton, et al. v. Kingdom of Saudi Arabia, Case No.: 17-cv-02003 (GBD)(SN)


                           MOTION TO SUBSTITUTE COUNSEL

       COME NOW, Katherine Maher, individually as spouse and as Personal Representative of

the Estate of Daniel L. Maher, deceased; Daniel R. Maher, individually as surviving child of Daniel

L. Maher, deceased; and Joseph F. Maher, individually as surviving child of Daniel L. Maher,

deceased (“the Maher Plaintiffs”) Plaintiffs in Ashton, et al. v. al Qaeda Islamic Army, et al., Case

No. 02-cv-6977 (GBD)(SN); Bauer, et al. v. al Qaeda Islamic Army, et al., Case No. 02-cv-7236

(GBD)(SN); and Ashton, et al. v. Kingdom of Saudi Arabia, Case No.: 17-cv-02003 (GBD)(SN),

and file this Motion to Substitute Counsel. As grounds for said Motion, the Maher Plaintiffs state

as follows:

       1.       The Maher Plaintiffs were represented by Thea Capone and Michel F. Baumeister

of Baumeister & Samuels, P.C. (“Baumeister & Samuels”). On March 22, 2019, by email,

Baumeister & Samuels informed the Maher Plaintiffs that they should seek new counsel.

       2.      The Maher Plaintiffs have retained Dennis G. Pantazis of Wiggins Childs Pantazis

Fisher Goldfarb LLC to represent them in this matter.
      Case 1:17-cv-02003-GBD-SN Document 161 Filed 09/20/19 Page 2 of 2




       3.      The Maher Plaintiffs request the Court to substitute Dennis G. Pantazis as attorney

of record as to the Maher Plaintiffs only.

       4.      The Maher Plaintiffs and Dennis G. Pantazis consent to the substitution of counsel

as requested herein (signed Consents attached hereto as Exhibit A).

       5.      The parties anticipate after substitution of counsel is granted, they will move the

Court to separate the Maher Plaintiffs into a separate case.

       WHEREFORE, PREMISES CONSIDERED, Katherine Maher, individually as spouse

and as Personal Representative of the Estate of Daniel L. Maher, deceased; Daniel R. Maher,

individually as surviving child of Daniel L. Maher, deceased; and Joseph F. Maher, individually

as surviving child of Daniel L. Maher, deceased, pray that this Honorable Court enter an Order

substituting Dennis G. Pantazis of Wiggins Childs Pantazis Fisher Goldfarb LLC as attorney of

record for the Maher Plaintiffs only in Ashton, et al. v. al Qaeda Islamic Army, et al., Case No. 02-

cv-6977 (GBD)(SN); Bauer, et al. v. al Qaeda Islamic Army, et al., Case No. 02-cv-7236

(GBD)(SN); and Ashton, et al. v. Kingdom of Saudi Arabia, Case No.: 17-cv-02003 (GBD)(SN).

                                              RESPECTFULLY SUBMITTED,

                                              /s/ Dennis G. Pantazis
                                              Dennis G. Pantazis


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